    Case 1:24-md-03119-MLG-LF              Document 137        Filed 03/11/25        Page 1 of 8




                            IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW MEXICO

        In Re: Shale Oil Antitrust Litigation              Case No. 1:24-md-03119-MLG-LF

        This Document Relates to:                          Judge Matthew L. Garcia

        ALL ACTIONS




                                      JOINT STATUS REPORT

   Pursuant to the Court’s December 20, 2024 Initial Scheduling Order (ECF No. 82), Plaintiffs

and Defendants (together, the “Parties”) submit this joint status report.

   I.       Summary of Progress on Case

            a. The Pleadings

   On January 10, 2025, Plaintiffs filed their Consolidated Class Action Complaint (ECF No. 86).

On February 24, 2025, Defendants filed: one joint motion to dismiss under Fed. R. Civ. P. 12(b)(1)

and 12(b)(6) (ECF No. 129), eight individual motions to dismiss under Fed. R. Civ. P. 12(b)(2)

and 12(b)(6) (ECF Nos. 123–27, 130–32), and one Request for Judicial Notice (ECF No. 128).

Pursuant to the Initial Scheduling Order (ECF No. 82), Plaintiffs’ oppositions to Defendants’

motions to dismiss and request for judicial notice are due April 10, 2025, and Defendants’ reply

briefs are due May 12, 2025.

   On February 20, 2025, Plaintiff Matthew Foos filed a Notice of Voluntary Dismissal of his

individual claims against all Defendants (ECF No. 100), which the Court memorialized on March
    Case 1:24-md-03119-MLG-LF               Document 137        Filed 03/11/25      Page 2 of 8




4, 2025 (ECF No. 107).

             b. Discovery

   On January 24, 2025, the Parties exchanged their Initial Disclosures. Between February 20 and

27, 2025, the Parties exchanged: document retention and electronic device usage policies; draft

discovery-related protocols including stipulated Electronically Stored Information (“ESI”),

deposition, and expert discovery protocols; and a draft protective order. The Parties are continuing

to negotiate these discovery protocols.

   II.       Outstanding Disputes

          There are no outstanding disputes in which the Parties are at impasse.

   III.      Settlement Discussions

          The Parties have not discussed settlement at this time.

   IV.       Motions and Other Matters the Parties Anticipate Addressing at Conference

          There are no motions or other matters that the Parties anticipate needing to address at the

March 18, 2025 conference. Should the Court wish to set a hearing date for Defendants’ motions

to dismiss and request for judicial notice, the Parties will be prepared to discuss that matter.




JOINTLY SUBMITTED:

Dated: March 11, 2025

COTCHETT, PITRE, & McCARTHY, LLP                        DODD LAW OFFICE, LLC
By: /s/ Karin B. Swope                                  Christopher A. Dodd
Karin B. Swope (pro hac vice)                           500 Marquette Avenue NW, Suite 1330
Ellen Wen (pro hac vice)                                Albuquerque, New Mexico 87102
1809 7th Avenue, Suite 1610                             Tel: (505) 475-2932
Seattle, WA 98103                                       chris@doddnm.com
Tel: (206) 778-2123

                                                   2
   Case 1:24-md-03119-MLG-LF   Document 137     Filed 03/11/25    Page 3 of 8




kswope@cpmlegal.com                     Liaison Counsel
ewen@cpmlegal.com
                                        BERGER MONTAGUE PC
COTCHETT, PITRE, & McCARTHY, LLP        Michael Dell’Angelo (pro hac vice)
Joseph W. Cotchett (pro hac vice)       Candice Enders (pro hac vice)
                                        1818 Market Street
Adam Zapala (pro hac vice)              Suite 3600
Vasti S. Montiel (pro hac vice)         Philadelphia, PA 19103
840 Malcolm Road                        Tel: (215) 875-3080
Burlingame, CA 94010                    mdellangelo@bm.net
Tel: (650) 697-6000
jcotchett@cpmlegal.com                  BERGER MONTAGUE PC
azapala@cpmlegal.com                    Richard D. Schwartz (pro hac vice)
                                        1720 W. Division
vmoniel@cpmlegal.com                    Chicago IL 20622
                                        Tel: (773) 257-0255
SCOTT+SCOTT ATTORNEYS AT LAW LLP        rschwartz@bm.net
By: /s/ Patrick Coughlin
Patrick McGahan (pro hac vice)
Michael Srodoski (pro hac vice)
156 S Main Street
P.O. Box 192
Colchester, CT 06415
Tel: (860) 537-5537
pmcgahan@scott-scott.com
msrodoski@scott-scott.com

SCOTT+SCOTT ATTORNEYS AT LAW LLP
Karin E. Garvey (pro hac vice)
230 Park Ave., 24th Floor
New York, NY 11069
Tel: (212) 223-6444
kgarvey@scott-scott.com

SCOTT+SCOTT ATTORNEYS AT LAW LLP
Patrick J. Coughlin (pro hac vice)
Carmen Medici (pro hac vice)
Daniel J. Brockwell (pro hac vice)
Isabella De Lisi (pro hac vice)
600 W. Broadway, Suite 3300
San Diego, CA 92101
Tel: (619) 233-4565
pcoughlin@scott-scott.com
cmedici@scott-scott.com
dbrockwell@scott-scott.com
idelisi@scott-scott.com

                                    3
   Case 1:24-md-03119-MLG-LF      Document 137    Filed 03/11/25     Page 4 of 8




By: /s/ Eric R. Burris                     By: /s/ Benjamin F. Feuchter
Eric R. Burris                             Benjamin F. Feuchter
BROWNSTEIN HYATT FARBER                    Thomas C. Bird
SCHRECK, LLP                               JENNINGS HAUG KELEHER MCLEOD
201 Third Street NW, Suite 1800            201 Third Street NW, Suite 1200
Albuquerque, NM 87102-4386                 Albuquerque, NM 87102
Tel: (505) 244-0770                        Tel: (505) 346-4646
eburris@bhfs.com                           bf@jhkmlaw.com
                                           tcb@jhkmlaw.com
Samuel G. Liversidge
Jay P. Srinivasan                          John M. Taladay
S. Christopher Whittaker                   Christopher Wilson
GIBSON, DUNN & CRUTCHER LLP                Kelsey Paine
333 South Grand Avenue                     Megan Tankel
Los Angeles, CA 90071-3197                 Fran Jennings
Tel: (213) 229-7000
sliversidge@gibsondunn.com                 BAKER BOTTS L.L.P.
jsrinivasan@gibsondunn.com                 700 K Street NW
cwhittaker@gibsondunn.com                  Washington, D.C. 20001-5692
                                           Tel: (202) 639-7909
Boris Bershteyn                            john.taladay@bakerbotts.com
Karen M. Lent                              christopher.wilson@bakerbotts.com
Michael H. Menitove                        kelsey.paine@bakerbotts.com
Zachary C. Siegler                         megan.tankel@bakerbotts.com
SKADDEN, ARPS, SLATE, MEAGHER &
FLOM LLP                                   fran.jennings@bakerbotts.com
One Manhattan West
New York, NY 10001-8602                    Attorneys for Defendant
Tel: (212) 735-3000                        EOG RESOURCES, INC.
Boris.bershteyn@skadden.com
Karen.lent@skadden.com
Michael.menitove@skadden.com
Zachary.siegler@skadden.com

Attorneys for Defendant
PIONEER NATURAL RESOURCES COMPANY




                                       4
    Case 1:24-md-03119-MLG-LF     Document 137     Filed 03/11/25    Page 5 of 8




By: /s/ Benjamin Allison                   By: /s/ Marguerite M. Sullivan
Benjamin Allison                           Marguerite M. Sullivan
Billy Trabaudo                             LATHAM & WATKINS LLP
BARDACKE ALLISON MILLER LLP                555 Eleventh Street, N.W., Suite 1000
P.O. Box 1808                              Washington, D.C. 20004
141 E. Palace Avenue                       Tel: (202) 637-2200
Santa Fe, NM 87501                         Marguerite.Sullivan@lw.com
Tel: (505) 995-8000
ben@bardackeallison.com                    Lawrence E. Buterman
billy@bardackeallison.com                  LATHAM & WATKINS LLP
                                           1271 Avenue of the Americas
Jeffrey L. Kessler                         New York, NY 10020
Jeffrey J. Amato                           Tel: (212) 906-1200
WINSTON & STRAWN LLP                       Lawrence.Buterman@lw.com
200 Park Avenue
New York, NY 10166                         Attorneys for Defendant
Tel: (212) 294-6700                        EXPAND ENERGY CORPORATION
jkessler@winston.com                       (F/K/A CHESAPEAKE ENERGY CORPORATION)
jamato@winston.com
                                           By: /s/ Benjamin E. Thomas
Thomas M. Melsheimer                       Benjamin E. Thomas
Thomas B. Walsh, IV                        RODEY, DICKASON, SLOAN, AKIN & ROBB, P.A.
WINSTON & STRAWN LLP                       201 3rd Street NW, Suite 2200
2121 N. Pearl Street, Suite 900            Albuquerque, New Mexico 87102
Dallas, TX 75201                           Tel.: (505) 765-5900 / Fax: (505) 768-7395
Tel: (212) 294-6700                        bthomas@rodey.com
tmelsheimer@winston.com
twalsh@winston.com                         Kevin S. Schwartz
                                           David A. Papirnik
Attorneys for Defendant                    WACHTELL, LIPTON, ROSEN & KATZ
DIAMONDBACK ENERGY, INC.                   51 West 52nd Street
                                           New York, NY 10019
                                           Tel: (212) 403-1062
                                           kschwartz@wlrk.com
                                           dapapirnik@wlrk.com

                                           Attorneys for Defendant
                                           HESS CORPORATION




                                       5
    Case 1:24-md-03119-MLG-LF   Document 137     Filed 03/11/25    Page 6 of 8




By: /s/ Earl E. DeBrine, Jr.             By: /s/ Christopher E. Ondeck
Earl E. DeBrine, Jr.                     Christopher E. Ondeck
MODRALL SPERLING                         Stephen R. Chuk
500 4th St. NW, Suite 1000               PROSKAUER ROSE LLP
Albuquerque, NM 87102                    1001 Pennsylvania Ave., NW
Tel: (505) 848-1800                      Suite 600 South
earl.debrine@modrall.com                 Washington, DC 20004
                                         Tel: (202) 416-6800
Devora W. Allon                          Facsimile: (202) 416-6899
KIRKLAND & ELLIS LLP                     condeck@proskauer.com
601 Lexington Avenue                     schuk@proskauer.com
New York, NY 10022
Tel: 212-446-5967                        Kyle A. Casazza
devora.allon@kirkland.com                PROSKAUER ROSE LLP
                                         2029 Century Park East, Suite 2400
Jeffrey J. Zeiger                        Los Angeles, CA 90067-3010
KIRKLAND & ELLIS LLP                     Tel: (310) 284-5677
333 West Wolf Point Plaza                kcasazza@proskauer.com
Chicago, IL 60654
Tel: 312-862-3237                        Jared DuBosar
jzeiger@kirkland.com                     PROSKAUER ROSE LLP
                                         2255 Glades Road, Suite 421 Atrium
Attorneys for Defendant                  Boca Raton, FL 33431
OCCIDENTAL PETROLEUM CORPORATION         Tel: (561) 995-4702
                                         jdubosar@proskauer.com

                                         Michael Burrage
                                         WHITTEN BURRAGE
                                         512 North Broadway Avenue, Ste 300
                                         Oklahoma City, OK 73102
                                         Tel: (888) 783-0351
                                         mburrage@whittenburragelaw.com

                                         H. Brook Laskey
                                         McCCOY LEAVITT LASKEY
                                         317 Commercial St. NE, Suite 200
                                         Albuquerque, NM 87102
                                         Tel: (505) 246-0455
                                         blaskey@MLLlaw.com

                                         Attorneys for Defendant
                                         CONTINENTAL RESOURCES, INC.




                                     6
   Case 1:24-md-03119-MLG-LF        Document 137   Filed 03/11/25   Page 7 of 8




By: /s/ Michael W. Scarborough
Michael W. Scarborough
Dylan I. Ballard
VINSON & ELKINS LLP
555 Mission Street, Suite 2000
San Francisco, CA 94105
Tel: (415) 979–6900
mscarborough@velaw.com
dballard@velaw.com

Craig P. Seebald
Stephen M. Medlock
VINSON & ELKINS LLP
2200 Pennsylvania Avenue NW, Suite 500 West
Washington, DC 20037
Tel: (202) 639-6500
cseebald@velaw.com
smedlock@velaw.com

Attorneys for Defendant
PERMIAN RESOURCES CORPORATION




                                          7
Case 1:24-md-03119-MLG-LF   Document 137   Filed 03/11/25   Page 8 of 8




                                 8
